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                                         22-4609

                  United States Court of Appeals
                                             for the

                                  Fourth Circuit

                             UNITED STATES OF AMERICA,

                                                                          Plaintiff/Appellant,

                                              – v. –



                                      RANDY PRICE,

                                                                         Defendant/Appellee.

                      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA AT CHARLESTON

                             BRIEF OF APPELLEE
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                                      ISSUE FOR REVIEW 1

              Whether the district court correctly held that the federal prohibition on

        possessing a firearm with an obliterated serial number, 18 U.S.C. § 922(k), facially

        violates the Second Amendment under New York State Rifle & Pistol Ass’n Inc. v. Bruen,

        142 S. Ct. 2111 (2022) – such that the decision below should be affirmed.

                                    SUMMARY OF ARGUMENT

              The district court correctly found that possession of an unserialized firearm is

        conduct protected by the Second Amendment’s plain text, and that Section 922(k)

        infringes on that conduct. The Second Amendment’s plain text protects keeping and

        bearing arms in case of confrontation. Price possessed a handgun, which is not a

        “dangerous or unusual weapon” and which is the quintessential self-defense weapon

        used in the United States. The absence of a serial number does not remove Price’s

        handgun from the Second Amendment’s plain text. Possession of a unserialized firearm

        is not inherently unlawful (as evidenced by the fact a pre-1968 made unserialized

        handgun is lawful), and Section 922(k) infringes upon conduct protected by the Second

        Amendment. Section 922(k) is not consistent with this Nation’s history of firearm

        regulation at the time of the Founding, thus Bruen’s presumption of unconstitutionality

        is not rebutted. The historical statutes cited by the United States are not relevantly



        1
         Per Rule 28(b) of the Federal Rules of Appellate Procedure, Price is not
        “dissatisfied” with either the Government’s jurisdictional statement or statement of
        the case and adopts them for purposes of this brief.
                                                  1
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        similar – much less distinctly similar – in terms of the comparable burdens placed on

        protected Second Amendment conduct, or comparable justifications. None of the

        authorities relied upon by the United States constitute well-established and representative

        historical firearm regulations which would make Section 922(k) constitutional under the

        Second Amendment. Finally, Price’s being separately prohibited from possessing a

        firearm as a convicted felon does not constitute any lawful application of Section 922(k)

        that would bar a facial challenge. The district court did not err finding Section 922(k)

        facially unconstitutional, and its decision should be affirmed.

                                               ARGUMENT

                The Second Amendment was ratified December 15, 1791.2 Every existing federal

        firearm regulation was subsequently enacted during the Twentieth Century or later.

        Generally, those surviving constitutional challenges, at least before New York State Rifle

        & Pistol Ass’n Inc. v. Bruen, 142 S. Ct. 2111 (2022), have been sustained through rational

        basis review subject to the unconstitutional collectivist interpretation of the Second

        Amendment, 3 or post District of Columbia v. Heller, 554 U.S. 570, 128 S. Ct. 2783 (2008),

        through intermediate scrutiny review subject to the individual rights interpretation of




        2
           See e.g. U.S. Const., amend. II, historical note; Raffone v. Adams, 468 F.2d 860, n.4
        (2nd Cir. 1972); National Archives, Milestone Documents, Bill of Rights,
        https://www.archives.gov/milestone-documents/bill-of-rights.
        3
            See e.g. United States v. Johnson, 497 F.3d 548, 550 (4th Cir. 1974).
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        the Second Amendment.4 By dispensing with means-ends scrutiny, Bruen has refined

        Heller to the point all modern federal firearm regulations are now subject to

        reexamination under the Second Amendment, using Bruen’s plain text and history

        standard.

               Bruen says when the Second Amendment’s plain text covers an individual’s

        conduct – the Constitution presumptively protects that conduct. To justify any

        regulation, the Government must demonstrate that it is consistent with this Nation’s

        historical tradition of firearm regulation. Only if this showing is made, may a court

        conclude that an individual’s conduct falls outside the Second Amendment’s

        “unqualified command”. Bruen, 142 S. Ct. at 2126.

               This case is not about whether the Second Amendment, post-Bruen, still “allows

        a ‘variety’ of gun regulations.” See U.S. Brief at 12, citing Bruen, 142 S. Ct. at 2162

        (Kavanaugh, J., concurring). It does. Rather, this case is solely about whether Section

        922(k), post-Bruen, violates the Second Amendment. The district court did not err

        finding Section 922(k) facially unconstitutional under the Second Amendment. JA 97-

        111. Affirming that ruling will not mean the Second Amendment is “unlimited,” any

        more than Heller, or Bruen have made it unlimited.




        4
           See e.g. United States v. Hosford, 843 F.3d 161 (4th Cir. 2016); United States v. Carter,
        750 F.3d 462 (4th Cir. 2014); United States v. Pruess, 703 F.3d 242 (4th Cir. 2012); United
        States v. Mahin, 668 F.3d 119 (4th Cir. 2012); United States v. Chester, 628 F.3d 673 (4th
        Cir. 2010).
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               I.     The district court correctly found that possession of an
                      unserialized firearm is conduct protected by the Second
                      Amendment’s plain text – such that the presumption of
                      unconstitutionality applied to Section 922(k) under Bruen ’s
                      first prong.

                      A.     Standard of Review

               Under Fed. R. Crim. P. 12, district courts should dismiss criminal charges where

        there is an infirmity of law in the prosecution – such as an unconstitutional statute.

        United States v. Engle, 676 F.3d 405, 415 (4th Cir. 2012). This Court’s review of the district

        court’s finding Section 922(k) facially unconstitutional is de novo. See United States v.

        Rahimi, ___ F.4th ___, 2023 WL 1459240, * 3(5th Cir. 2023); United States v. Moore, 666

        F.3d 313, 316 (4th Cir. 2012); United States v. Bostic, 168 F.3d 718, 721 (4th Cir. 1999).

                      B.     The specific “conduct” protected by the Second
                             Amendment’s plain text is to keep and bear arms in
                             case of confrontation.

               While the “plain text” of the Second Amendment is squarely before the Court

        as part of Bruen’s first prong, Bruen, 142 U.S. at 2126-2129, 2131, it is not even recited

        by the United States’ brief. Consisting of twenty-seven now familiar words, the Second

        Amendment provides: “A well regulated Militia, being necessary to the security of the

        free State, the right of the people to keep and bear arms, shall not be infringed.” U.S.

        Const. amend II (1791)(emphasis added).

               Through the operative clause, the textual substance of the individual right

        protected by the Second Amendment is “to keep and bear arms in case of

        confrontation.” See Heller, 554 U.S. at 581, 591; Bruen, 142 S. Ct. at 2127. Put another
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        way, while the United States tries very hard to redefine the actual protected conduct, see

        U.S. Brief, at 8, 15-20, keeping and bearing arms is still what is protected by the Second

        Amendment’s plain text. Heller acknowledged Second Amendment protection of this

        conduct inside the home, Heller, 554 U.S. at 635; Bruen acknowledged Second Amendment

        protection of this conduct outside the home. Bruen,142 S. Ct. at 2122. Textually, Heller

        defined bearable arms as “weapons” generally, not just those which were serialized or

        which bore other specific characteristics. See Heller, 554 U.S. at 581-592.

               Engaging in a straightforward application of Bruen, the district court correctly

        found that Section 922(k) burdens conduct protected by the Second Amendment’s

        plain text: the keeping and bearing of arms for purposes of self-defense. JA100-103.

                      C.     Price possessed a handgun, which was a firearm in
                             common use at the time.

               The firearm seized from Price’s car was a .25 caliber, semi-automatic handgun

        (Raven Arms MP-25). 5 It was not a dangerous or unusual weapon, and it remains in

        common use not just in West Virginia, but throughout the United States. Heller itself

        acknowledged that handguns are “an entire class of ‘arms’” overwhelmingly chosen by


        5
          The MP-25 was lawfully produced in the United States from 1970 to 1999, in
        response to the 1968 Gun Control Act’s ban on inexpensive imported handguns. See
        generally Joseph von Benedikt, Raven Arms MP-25, The Shooting Times Online
        (March 5, 2021), https://www.shootingtimes.com/editorial/raven-arms-
        mp25/389100 (last viewed Feb. 5, 2023); Peter Harry Brown, Daniel G. Abel,
        Outgunned: Up Against the NRA: The First Complete Insider Account of the Battle Over Gun
        Control, pp. 57, 157 (New York: Simon and Schuster, 2010); Nicholas Freudenberg,
        Lethal But Legal: Corporations, Consumption, and Protecting Public Health, pp. 48–52 (Oxford
        University Press, USA 2014).
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        American society for the inherent individual right of self-defense; that the American

        people consider the handgun to be the quintessential self-defense weapon; and that

        handguns are the most popular weapon chosen by Americans for self-defense in the

        home. See Heller, 554 U.S. at 628, 629. McDonald v. City of Chicago, 561 U.S. 742, 767-

        68, 130 S. Ct. 3020, 3036 (2010), repeated those points. So did Bruen. Bruen, 142 S. Ct.,

        at 2128. During 2022, handguns were still the most commonly owned firearm in the

        United States.6

                     D.     The absence of a serial number does not remove Price’s
                            handgun from the Second Amendment’s plain text.

              The Second Amendment’s plain text makes no distinction between possession

        of serialized or unserialized firearms, any more than it distinguishes between unspecified

        subsets of “the people.” Heller, 554 U.S. at 579-581. The Government, however,

        maintains that possession of an unserialized firearm does not fall within the Second

        Amendment’s text for two reasons: (1) such firearms are not typically possessed by law-

        abiding citizens for lawful purposes, and (2) Section 922(k) does not “infringe” on the

        right to armed self-defense. Neither argument is persuasive.




        6
           American Gun Facts, How Many Guns are in the US? (updated January 16, 2023),
        https://americangunfacts.com/gun-ownership-statistics/ (last viewed January 30,
        2023).
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                              1.      Unserialized firearms are not dangerous or
                                      unusual weapons, or possessed by law abiding
                                      citizens for unlawful purposes.

               Contrary to the United States’ assertions, see U.S. Brief at 10, 15-20, possession

        of an unserialized firearm is covered by the Second Amendment’s plain text. To begin,

        the test the Government uses to exclude certain firearms – “not typically possessed by

        law-abiding citizens for lawful purposes,” Heller, 554 U.S. at 625 – derives not from the

        Second Amendment’s text, but from historical tradition. Heller said that limitation

        “accords with the historical understanding of the scope of the right.” Ibid. And it said

        that the related “in common use at the time” limitation, which similarly derived from

        United States v. Miller, 307 U.S. 174 (1939), “is fairly supported by the historical tradition of

        prohibiting the carrying of dangerous and unusual weapons.” Id. at 627 (emphasis

        added); accord Bruen, 142 S. Ct. at 2128 (prefacing discussion of the “in common use at

        the time” standard, by noting “[a]fter holding that the Second Amendment protected

        an individual right of armed self-defense, [Heller] also relied on the historical understanding

        of the Amendment to demark the limits on the exercise of that right”); Id. at 2132

        (“[W]e use history to determine which modern “arms’ are protected by the Second

        Amendment.”).

               The result is that the “common use” and “lawful purposes” limitations have no

        role to play at Bruen’s first prong. Rather, they are only relevant at Bruen’s step two,

        where the Government bears the burden of establishing a robust, historical tradition of


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        distinctly similar firearm regulation consistent with Section 922(k) in order to overcome

        the initial presumption of unconstitutionality. See Bruen, 142 S. Ct. at 2126.

              But even assuming Bruen’s step one were to involve an inquiry into “common

        use” and use for “lawful purposes,” the Government recites only half the relevant test.

        The “common use” standard is inextricably tied up in the permissibility of limitations

        on “dangerous and unusual weapons”; they operate as different sides of the same coin.

        As explained above, Heller described the “in common use at the time” requirement as

        being “fairly supported by the historical tradition of prohibiting the carrying of

        dangerous and unusual weapons.” Heller, 554 U.S. at 627. In other words, “in common

        use for lawful purposes” and “dangerous and unusual” are two ways of asking the same

        question. A weapon is protected by the Second Amendment as long as it either (1) is

        in common use for lawful purposes, or (2) is not “dangerous and unusual.”

              Here, the Government has not shown that unserialized firearms can be excluded

        on either basis. Dangerousness has to do with a firearm’s functionality – i.e. whether it

        makes a gun shoot faster, causes bullets to hit with greater impact, increases the

        firearm’s magazine capacity, or otherwise renders a firearm more deadly. The lack of a

        serial number does none of those things. As the district court correctly noted – lack of

        serialization does not affect the functionality of a given firearm, nor does it render any

        firearm a “dangerous and unusual weapon” that is outside the scope of Second

        Amendment protections. JA109-110. The United States has conceded as much. See


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        U.S. Brief, at 18, 26. Thus the Government cannot classify unserialized firearms as

        “dangerous” and unusual.

              Nor has the Government established that unserialized firearms are not “typically

        possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625. The

        Government asserts that “the only reason to obliterate a serial number is to avoid being

        connected with a firearm that was stolen, involved in a crime or obtained in a straw

        purchase.” U.S. Brief at 18 (emphasis added). But an individual does not have to

        remove, obliterate, or alter a firearm’s serial number in order to be criminally culpable

        under Section 922(k); 7 they only have to possess the gun. Here there is no suggestion,

        much less evidence, that Price did anything other than possess an unserialized firearm.

              And it is simply not true, as the Government maintains, that unserialized firearms

        are never possessed by law abiding citizens for lawful purposes or that the only reason

        to possess an unserialized firearm is to evade law enforcement detection. See U.S. Brief,

        at 1, 8, 15-20. A private citizen might possess an unserialized firearm because they

        received it as a gift, because they legally bought it from a non-licensed dealer, because

        the serial number wore away, or for any other number of innocuous reasons. Possessing

        an unserialized firearm is not inherently unlawful or inherently nefarious, and is a




        7
          In fact, a serial number does not even have to be illegible to fall under Section
        922(k). See United States v. Harris, 720 F.3d 499, 502-503 (4th Cir. 2013).
                                                   9
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        perfectly legitimate exercise of the fundamental right to keep and bear arms.8 Indeed,

        as the United States itself concedes, Section 922(k) recognizes the innocence of such

        conduct – by permitting the possession of an unserialized firearm manufactured before

        1968. See U.S. Brief, at 18.

               The Court should not accept the Government’s naked, unsupported assertion

        that law-abiding citizens do not possess unserialized firearms for lawful purposes. After

        Bruen, the Government can no longer establish a firearm regulation’s constitutionality

        by speculation.

                             2.        Section 922(k) infringes on the right to keep and
                                       bear arms.

               The United States repeatedly claims that Section 922(k) does not meaningfully

        burden Second Amendment conduct because serialization does not affect firearm

        functionality, marked firearms are ubiquitous, and individual self-defense may still be

        exercised using serialized or pre-1968 made unserialized firearms. See U.S. Brief at 18-

        20, 26. This is not true. Section 922(k) expressly prohibits possession of a firearm. To

        any individual possessing a post-1968 unserialized firearm, they are subject to federal

        felony criminal jeopardy under Section 922(k) unless they forfeit their constitutional



        8
           Beyond the valid examples already discussed by the district court (which are hardly
        “fanciful”, see U.S. Brief, at 20), a private citizen’s possessing an unserialized firearm is
        also an equally legitimate exercise of what Justice Brandeis characterized as “the right
        to be left alone.” See Sanuel D. Warren and Louis D. Brandeis, The Right to Privacy,
        Vol. 4 No.5, Harvard Law Review 193-220 (1890); Olmstead v. United States, 227 U.S.
        438, 471-488 (1928)(Brandeis, J. dissenting).
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        right to self-defense. Otherwise, if convicted - besides being subject to five years in a

        federal prison - that person could become permanently stripped of their right to possess

        firearms. 18 U.S.C § 922(g)(1).9 So the burden of Section 922(k) on possessing an

        unserialized firearm is both heavy and real. This is disproportionate and unreasonable

        – where serialization does not impact firearm functionality, safety, or dangerousness,

        and Section 922(k)’s burden can supposedly be alleviated by just possessing either a

        serialized or another pre-1968 unserialized firearm (assuming a given citizen is even

        capable of discerning the difference).

               More importantly, the Government’s no-infringement argument completely

        misses that the Government cannot infringe upon a constitutional right in one way just

        because it doesn’t violate it in other ways. Heller made this point discussing the District

        of Columbia’s ban on handguns in the home: “It is no answer to say, as petitioners do,

        that it is permissible to ban the possession of handguns so long as the possession of

        other firearms (i.e., long guns) is allowed.” Heller, 554 U.S., at 629. Justice Thomas

        (joined by Justice Scalia) made a similar point when dissenting from denial of certiorari

        in a case that banned “assault weapons”:

              Lastly, the Seventh Circuit considered ‘whether law abiding citizens retain
              adequate means of self-defense,’ and reasoned that the City’s ban was permissible
              because ‘[i]f criminals can find substitutes for banned assault weapons, then so
              can law abiding homeowners.’ … That analysis misreads Heller. The question



        9
         The district court was incorrect in its determination that § 922(g)(1) survives scrutiny
        under Bruen, JA 111-116, but that issue is not yet before this Court in this case.
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               under Heller is not whether citizens have adequate alternatives available for self-
               defense. Rather, Heller asks whether the law bans types of firearms commonly
               used for a lawful purpose … regardless of whether alternatives exist.

        See Friedman v. City of Highland Park, Ill., 577 U.S. 1039, 136 S. Ct. 447, 448 (2015)

        (Thomas, J. dissenting from denial of certiorari). The court in United States v. Kelly, 2022

        WL 17336578 (M.D.Tenn. 2022) made a similar point:

               The Government points out that a bar on receiving a new firearm [under 18
               U.S.C. § 922(n)] is not a total ban on weapons possession, but neither was the
               law found to be unconstitutional in Bruen. Generally speaking, moreover, the
               infringement on a constitutional right in one way is not typically negated by the
               fact that the Government did not violate the same right even further in another
               way.

        Separately, or more accurately cumulatively – deciding whether a law violates the Second

        Amendment based on how great a burden it imposes does exactly what Bruen prohibited

        in the context of the “relevantly similar” analysis – returning to independent means-

        ends balancing under the guise of analogical reasoning. Bruen, 142 S. Ct. 2133, n.7.

               Consistent with this prohibition, what the United States’ entire argument misses

        is that post-Bruen, courts do not ask about the size of the burden placed on protected

        conduct. Any burden is impermissible, unless the United States conclusively proves it

        is consistent with a robust historical tradition of firearm regulation at the time of the

        Founding. As one court observed, “Bruen does not allow the Court to balance the

        extent of an intrusion into a Second Amendment right against the strength of the public

        interest served by” the challenged regulation “or the closeness of the means to the

        statute and the end.” Ocean State Tactical, LLC v. Rhode Island, 2022 WL 17721175, at *

                                                    12
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        14, n.28 (D.R.I. 2022). That is because a court “cannot . . .conclude that the impairment

        is ‘modest’ and ‘the fit between [legislative] interests and restrictions imposed by the

        Act is both close and reasonable’,”, rather, “any intrusion into a right protected by the

        Second Amendment thrusts us into the territory of justifying the regulation as one

        historically placed on similar weapons.” Ibid. (emphasis added)). The Government’s

        claim that 922(k) does not infringe on protected Second Amendment conduct is

        without merit.

                     E.     The district court’s straightforward application of
                            Bruen ’s first prong should be affirmed.

              The district court correctly found that Section 922(k) was not a commercial

        regulation, that it directly infringed upon firearm possession, and that the conduct

        prohibited by Section 922(k) “falls squarely within the Second Amendment’s plain

        text”. JA101-103. Under Bruen’s first prong, the district court further found that

        Section 922(k) was presumptively unconstitutional. JA103. These findings should be

        affirmed.

              II.    The district court correctly found Section 922(k) is not
                     consistent with any distinctly similar historical tradition of
                     firearm regulation at the time of the Founding.

                     A.     Standard of Review

              This Court’s review of the district court’s finding Section 922(k) facially

        unconstitutional is de novo. See United States v. Rahimi, ___ F.4th ___, 2023 WL 1459240,




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        * 3 (5th Cir. 2023); United States v. Moore, 666 F.3d 313, 316 (4th Cir. 2012); United States

        v. Bostic, 168 F.3d 718, 721 (4th Cir. 1999).

                      B.     “At the time of the Founding” directs Bruen ’s historical
                             inquiry for federal firearm regulations.

                In the context of historical federal firearm regulations, Bruen’s second prong

        focuses on how Second Amendment protections were burdened or otherwise limited

        “at the time of the Founding.” This is because “constitutional rights are enshrined with

        the scope they were understood to have when the people adopted them.” Bruen, 142 S. Ct. at

        2136.

                In United States v. Cruikshank, 92 U.S. 542 (1875), the Supreme Court

        acknowledged that the rights protected by the Second Amendment were “not granted

        by the Constitution [or] in any manner dependent upon that instrument for its

        existence. The second amendment … means no more than that it shall not be infringed

        by Congress.”      Heller repeatedly reaffirmed this position, and – in assessing the

        constitutionality of a federal firearm regulation – looked to 1791, not 1868. See Heller,

        554 U.S. at 592, 619-20. Bruen similarly says the Court has “generally assumed that the

        scope of the protection applicable to the Federal Government and the States is pegged

        to the public understanding of the right when the Bill of Rights was adopted in 1791.”

        Bruen, 142 S.Ct. at 2137. Because Bruen expressly said it “need not address” whether

        1791 or 1868 provides the proper historical baseline, that opinion provides no basis for

        deviating from the Supreme Court’s normal “assum[ption].” Bruen, 142 S. Ct. at 2138.

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        Consistent with Heller, “Bruen is clear that the Second Amendment ‘codified a right

        inherited from our English ancestors,” a right that ‘pre-existed’ the Constitution. Bruen,

        142 S. Ct., 2130, 2139. The entire universe of permissible firearm regulations, then, was

        set at the adoption of the Bill of Rights, if not earlier.” United States v. Love, 2022 WL

        17829438, at *4 (N.D. Ind. 2022).

              The emphasis on the time the Constitution and Second Amendment were

        ratified is the foundation of Bruen’s “text and history” standard. What made up the

        United States – i.e. what sovereign states geographically made up our country; and

        therefore what jurisdictions’ laws should be consulted for historical restrictions on

        Second Amendment protections, is defined by “at the time of the Founding.” The

        United States’ Constitution was signed on September 17, 1787, then ratified by nine of

        the thirteen state legislatures between December 7, 1787, and June 22, 1788. The

        Confederation Congress began operating under the new Constitution on March 9, 1789.

        The Bill of Rights were later ratified on December 15, 1791. So the “time of the

        Founding” essentially consists of mid-1787 to the end of 1791. Geographically, by the

        end of 1791, our physical country consisted of thirteen sovereign states, and two

        territories on the north and south sides of Virginia:10




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           Wikipedia Commons, United States 1791-09-1792-03.png map,
        https://upload.wikimedia.org/wikipedia/commons/4/43/United_States_1791-09-
        1792-03.png.
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              Given the composition of our country “at the time of the Founding,” post-Bruen

        courts should look to the particular history of laws and traditions followed by the first

        thirteen states between mid-1787 and the end of 1791. This would be the strongest

        evidence of any distinctly similar historical tradition of firearms regulation consistent

        with the Second Amendment, particularly with respect to societal problems which

        existed in 1791.




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                      C.     Bruen ’s “distinctly similar” and “relevantly similar”
                             inquiries are alternative analogical tools. Bruen ’s
                             “relevantly similar” inquiry is only available under
                             limited circumstances, and is not a supplemental “do
                             over” for regulations failing Bruen ’s “distinctly similar”
                             standard.

               Bruen sets out two different inquiries for determining whether a challenged

        regulation is consistent with our Nation’s historical tradition of firearm regulation.

        Which inquiry applies depends on what kind of problem a statute targets and whether

        it is old or new.

               In “some cases,” where “a challenged regulation addresses a general societal

        problem that has persisted since the 18th century,” the historical inquiry “will be fairly

        straightforward.” Bruen, 142 S. Ct. at 2131. For such statutes, “the lack of a distinctly

        similar historical regulation addressing that problem is relevant evidence that the

        challenged regulation is inconsistent with the Second Amendment.” Ibid. (emphasis

        added). If “the Founders themselves could have adopted” a particular regulation “to

        confront [a longstanding] problem,” but did not do so, then the law “[i]s

        unconstitutional” today. Ibid. Similarly, “if earlier generations addressed the societal

        problem, but did so through materially different means, that also could be evidence that

        a modern regulation is unconstitutional.” Ibid. Both Heller and Bruen fell in this first

        category: the laws challenged in those cases were aimed at a problem – “handgun




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        violence, primarily in urban areas” – that existed at the founding, and the Court

        therefore required a tight fit between those laws and historical precursors. Ibid.11

               Conversely, in “other cases,” a challenged law will “implicat[e] unprecedented

        societal concerns or dramatic technological changes,” or will be addressed to

        “challenges” that are “not . . . the same as those that preoccupied the Founders in 1791.”

        Bruen, 142 S.Ct. at 2132. Historical inquiry into these statutes “may require a more

        nuanced approach,” which “will often involve reasoning by analogy.” Ibid. Deciding

        “whether a historical regulation is a proper analogue for a distinctly modern firearm

        regulation requires a determination of whether the two regulations are relevantly similar.”

        Ibid. (emphasis added). The “central considerations” in the “relevantly similar” analysis

        are “whether modern and historical regulations impose a comparable burden on the

        right of armed self-defense and whether that burden is comparably justified”—what

        the Court called the “how” and the “why.” Id. at 2133 (emphasis omitted).

              This “relevantly similar” inquiry – which the Court did not undertake in Bruen –

        is less onerous. Unlike the “distinctly similar” standard, it may be satisfied even if the

        Government does not identify “a historical twin” or “a dead ringer” for a modern




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           United States v Holton, ___ F.Supp.3d ___, 2022 WL 16701935,*2 (N.D. Tex. 2022)
        does not even acknowledge this inquiry under Bruen’s second prong – and like the
        United States – goes straight to the “relevantly similar” inquiry. United States v. Tita,
        2022 WL 17850250, at *5 (D. Md. 2022), follows suit.
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        firearm regulation. Bruen, 142 S.Ct. at 2133.12 But courts may employ the “relevantly

        similar” approach only when the challenged statute is geared toward a societal problem

        that would have been “unimaginable at the founding.” Id. at 2132. It is not available

        when the challenged statute “addresses a general societal problem that has persisted

        since the 18th century.” Id. at 2131. At the threshold, therefore, courts faced with a

        Bruen challenge must identify the problem at which a statute is aimed, and then

        determine whether that problem existed in 1791 or instead grows out of

        “unprecedented,” “unimaginable” societal changes. Id. at 2132; see United States v. Lewis,

        2023 WL 187582, at *3 (W.D. Okla. 2023)(“[T]he court concludes, upon careful reading

        of [Bruen], that it does articulate two standards for assessment of the Government’s

        proffered historical analogues, depending on whether the ‘challenged regulation

        addresses a general societal problem that has persisted since the 18th century,’ or

        whether the statute addresses ‘unprecedented societal concerns or dramatic

        technological changes’,” quoting Bruen, 142 142 S. Ct. at 2131-32.

              Bruen’s historical second prong is not linear, or multi-tiered. If a distinctly similar

        historical analogue does not exist regarding a societal problem which existed at the

        Founding, the challenged regulation is unconstitutional. That is the end of the inquiry.

        The Government is not permitted a less demanding “do-over” to explore whether there



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           Even when on the “relevantly similar” track, “courts should not uphold every
        modern law that remotely resembles a historical analogue, because doing so risks
        endorsing outliers that our ancestors would never have accepted.” Ibid.
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        might be an alternately “relevantly similar” historical analogue. The distinctly similar

        and relevantly similar inquiries operate as alternatives: one applies to statutes aimed at

        old problems, the other applies to statutes aimed at new problems. The relevantly similar

        inquiry is not a supplemental approach the Court may turn to if the distinctly similar

        analysis does not work out. See Bruen, 142 S. Ct., at 2131-2134.

                     D.     The societal problems addressed by Section 922(k)
                            existed at the time of the Founding, and were neither
                            “unprecedented”, “unimaginable at the founding,” or
                            based on any “dramatic technological changes.”

              The societal problems Congress sought to address through Section 922(k) were

        firearm violence and solving firearm crimes. See U.S. Brief, at 27. As the district court

        correctly surmised, these problems existed in 1791, and certainly were not

        “unprecedented” or “unimaginable at the founding.” JA108-109. The United States

        dismisses the absence of distinctly similar historical analogues as being “non-probative”

        of legislative priorities, U.S. Brief at 28 & 31; suggests that gun violence did not

        “preoccupy the Founders”, Id., at 29 (with no supporting evidence); asserts that Section

        922(k) is based in part on technological changes (again citing no specific evidence), Ibid;

        and that due to manufacturing technology at the time of the founding – firearm

        serialization would have been unrealistic. But the United States still manages to

        acknowledge that “the Founders themselves could have adopted” a statute like Section

        922(k) to address firearm violence and the difficulty of solving firearm crimes. Bruen,

        142 S. Ct. at 2131; see U.S. Brief, at 21-27. The United States concedes that stamping

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        technology existed both before and at the time of the founding, as evidenced by the

        practice of using barrel proofing stamps. Barrel proofing was done in England in the

        1600’s, and progressed at the rate of firearm manufacturing in existence at the time.

        Later mass production of firearms involved technologies that would have easily allowed

        corresponding mass firearm serialization to occur well before 1968. So, contrary to the

        Government’s claim, the societal problem addressed by Section 922(k), does not grow

        out of post-founding “technological changes” and was not unimaginable at the

        founding. U.S. Brief at 28-30. Given the nature of the problems targeted by Section

        922(k), the appropriate analogical inquiry was and should have been under Bruen’s

        (distinctly similar) standard, not the (relevantly similar) standard.

                      E.     The district court did not misunderstand the analogical
                             analysis to be applied under Bruen .

               While the standard of review is de novo, see U.S. Brief, at 15, there should be no

        question the United States previously failed to put forward any of the evidence or

        arguments it now contends require the district court to be reversed. The United States

        was instead content to rest on the assertion Section 922(k) is a commercial firearm

        regulation not prohibited by the Second Amendment. Given the complete dearth of

        evidence before the district court regarding Section 922(k)’s consistency with any

        distinctly similar historical analogues at the time of the founding, it seems more than a

        stretch to claim the district court “misunderstood” the analogical inquiry required under

        Bruen, that it read too much into the absence of distinctly similar historical regulations

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        due to legislative silence, that it failed to understand gun violence did not preoccupy the

        Founders, and that it incorrectly interpreted history in finding Section 922(k)

        unconstitutional. “QED”. Heller, 554 U.S. at 634.

               Of course, the United States’ failure to carry its burden before the district court

        should not be the only reason the decision below is affirmed. The completely new

        arguments and materials advanced on appeal likewise fail to establish a distinctly similar

        historical tradition of firearm regulation which would overcome Bruen’s presumption

        that Section 922(k) is unconstitutional.

                      F.     Section 922(k) is not consistent with any distinctly
                             similar firearm regulation that existed at the time of the
                             Founding.

               The Government’s historical arguments conflate the “distinctly similar” and

        “relevantly similar” inquiries as if they were one, and completely miss (perhaps

        deliberately) that resort to the more elastic “relevantly similar” historical analysis is not

        available just because a regulation has no historical analogues under Bruen’s “distinctly

        similar” analysis. The United States mischaracterizes Bruen as going straight to the

        “relevantly similar” approach as a matter of course – which it does not. Yet this is

        precisely what the United States is asking this Court to do; the Court should decline the

        invitation.

               The Government also dismissively characterizes legislative inaction at the time

        of the founding as “less probative” than “a state’s considering the law and rejecting it

        on constitutional grounds.” U.S. Brief at 28. But Bruen says no such thing, and it
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        certainly does not suggest the Government can rebut the presumption of

        unconstitutionality simply by showing that no founding-era court ever struck down a

        similar regulation. See Bruen, 142 S. Ct. at 2131. In fact, the absence of any such judicial

        determinations from the founding era is particularly irrelevant where, as here, founding-

        era legislatures never enacted any laws like Section 922(k). Eighteenth and early

        nineteenth-century courts could not express a view on the constitutionality of a

        regulation they never confronted.

               In any event, “legislative silence” is actually central to Bruen’s historical inquiry.

        Bruen explained that a statute is unconstitutional unless it comports with “the Nation’s

        historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2130 (emphasis added). The

        Court’s analysis in Bruen turned almost entirely on the fact that no jurisdiction had ever

        “regulated” public carry – i.e., proscribed it through legislative enactments – in a manner

        similar to New York’s proper-cause requirement. Id. at 2142. Time and again, the Court

        asked whether “regulations” like New York’s existed in the founding era. See, e.g., Id. at

        2135, 2139, 2142, 2150. The fact that they did not was essential to the Court’s holding.

               Neither the record nor the United States’ historical proxies (including those

        separately cited by the Government purportedly banning sales of firearms at certain

        geographic locations and to certain categories of people, see U.S. Brief, 21-22), establish

        any distinctly similar historical firearm regulations which are consistent with Section

        922(k). The district court found as much, and this Court should concur.


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                      G.     Section 922(k) is also not consistent with any other
                             “relevantly similar” historical firearm regulation that
                             existed between 1791 and 1821.

               Even if the improper “relevantly similar” inquiry were to apply, the Government

        has not borne the burden of establishing any robust tradition of laws relevantly similar

        to Section 922(k) – i.e., laws that are comparably justified and which impose a

        comparable burden on the right of armed self-defense.

               In support of reversing the district court’s ruling, the United States points to a

        handful of colonial, pre-constitution, and post-1805 commercial gunpowder and gun

        barrel statutes as being “relevantly similar” historical analogues to Section 922(k). First,

        the United States cites six gunpowder regulatory schemes enacted by the Massachusetts

        Colony, the Connecticut Colony, Pennsylvania, New Hampshire, Massachusetts, and

        the City of Providence, Rhode Island, over the 170 year period between 1651 and 1821.

        See U.S. Brief, at 22-24.

               Rather than requiring marking and serialization procedures to aid in solving

        crimes or keeping gunpowder away from “dangerous people”, the cited gunpowder

        laws regulated commerce as a matter of consumer and product safety. Thus these laws

        were not “comparably justified” relative to § 922(k), which is meant to reduce the use

        of firearms for unlawful purposes and aid in solving crimes. Bruen, 142 S. Ct. at 2133.

               Specifically, these laws typically authorized the appointment of an inspector of

        gunpowder for every public powder magazine and “at every manufactory” of

        gunpowder in a given jurisdiction; regulated the composition of gunpowder
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        manufactured within a given jurisdiction; specified what characteristics rendered

        powder to be “in proof” – meaning of conforming composition, safely storable and

        safely salable – which had to be certified by an inspection mark, date, and quantity;

        directed inspectors to mark as “condemned” all non-conforming “ill manufactured, or

        deficient gunpowder”; prohibited the sale of deficient powder and fraudulent removal of

        “condemned” labels; limited the quantities of gunpowder which could be possessed or

        stored in a given location; and generally required licenses to sell or otherwise transfer

        gunpowder within certain jurisdictions. The penalties for violating any of these statutes

        did not result in firearm disarmament or imprisonment, and instead typically resulted

        in a nominal forfeiture of non-conforming gunpowder and in the imposition of various

        fines – some as low as $ 5. Cf. Id. at 2149 (“And given that surety laws were ‘intended

        merely for prevention’ and were ‘not meant as any degree of punishment,’ 4 Blackstone,

        Commentaries, at 249, the burden these surety statutes may have had on the right to

        public carry was likely too insignificant to shed light on New York’s proper-cause

        standard – a violation of which can carry a 4-year prison term or a $5,000 fine.”).

        Individuals on federal or state military duty “in the public service” were exempted by

        at least one jurisdiction. See Providence R.I. Gunpowder Ordinance, Secs. 1 – 4 (1821).

              The United States separately maintains that two “barrel proofing statutes”

        enacted by Maine and Massachusetts over fourteen years after the Founding – between

        March 8, 1805, and March 10, 1821 – demonstrate a historical tradition of firearm

        regulation which would support the constitutionality of Section 922(k). See US Brief at
                                                   25
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        24-25. In order to understand why the referenced barrel proofing laws plainly do not

        do so, it is important to understand what barrel proofing does and what it is for.

              “Barrel proofing” was a type of musket and pistol barrel-function testing, where

        appropriate sized ammunition was overloaded with powder in the gun on purpose.13

        Discharging the gun with the overloaded powder produced higher than normal

        pressures inside the barrel. If the barrel as constructed could withstand the increased

        pressures from the overloaded discharge, it was expected to withstand the significantly

        lower pressures of non-overloaded discharges that occurred with regular use. Proofing

        barrels either worked, or failed. For those that worked and passed the “proofing”

        process, the barrels were affixed with a stamp as notice to anyone using the gun about

        the identity of who proofed the barrel and that it had been safely proofed to work as

        intended. Barrel proofing started being used by English gunsmiths during the 1630s.14

        The United States historically had no formal proofing houses (like European countries),

        so most U.S. manufacturers today voluntarily proof their own firearms. 15



        13
           See Joel Penkala, the Barrel Proofing Process, Shotgun Craftsmanship, Upland Gun
        Company (March 2, 2021), https://uplandguncompany.com/the-barrel-proofing-
        process/ (last viewed Feb. 2 2023); George Harris, What Does It Mean to Proof a
        Firearm?, NRA Shooting Illustrated.com (Nov. 29, 2020),
        https://www.shootingillustrated.com/content/what-does-it-mean-to-proof-a-
        firearm/ (last viewed Feb. 3, 2023).
        14
           See e.g. The Proof House, Worshipful Company of Gunmakers,
        https://www.gunmakers.org.uk/the-proof-house/ (last viewed Feb. 1, 2023).
        15
            See NRA Museum, Proof Mark registry,
        https://www.nramuseum.org/media/940944/proofmarks.pdf (last viewed Feb. 3,
        2023).
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               Barrel proofing and barrel proofing marks, in other words, were also consumer

        product safety measures, expressly adopted to protect firearm end-users and to improve

        firearm safety. Such effectively operated as the “do not remove” mattress tags of early

        Nineteenth Century firearm manufacturing. As a result, barrel proofing statutes were

        not “comparably justified” with Section 922(k), which is intended to facilitate crime-

        solving. Bruen, 142 S. Ct. at 2133. Barrel proofing statutes, therefore, are not “relevantly

        similar” – much less “distinctly similar” – to Section 922(k)’s prohibition against

        possessing an unserialized firearm. Using either Bruen inquiry, there is no fit – much less

        a tight fit – between Section 922(k) and the collection of statutes presented by the

        United States.

               Finally, the United States makes general reference to largely seventeenth-century

        colonial commercial statutes regulating “the firearms trade” by location and jurisdiction,

        and for six colonies – prohibiting the sale of firearms to Native Americans. See U.S. Brief,

        at 21-22. The United States contends “these laws show that colonial legislatures were

        concerned about the movement of firearms between private parties and the dangers of

        firearms falling into the wrong hands.” Id at 22. The cited text and statutes, do not

        necessarily support that general assertion, and it defines the stated purpose much too

        broadly. The United States further offers no actual evidence of such purposes.

        Assuming that is what they were, however, as with the gunpowder and two 1820 barrel

        proofing stamp statutes – such purposes still do not share sufficiently comparable

        burdens or justifications with Section 922(k).
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               More important than any similarity of fit (which again really looks, smells, and

        kind of tastes more like means-end interest balancing than any true examination of

        history), is the scope of the tradition represented by the gun barrel stamp and gun powder

        statutes cited by the United States under the relevantly similar inquiry. See Bruen, 142 S.

        Ct., at 2133. While the United States is correct that Bruen does not require a historical

        twin, a historical analogue must still be “well-established and representative”. Ibid. (emphasis

        added). None of the statutes presented by the United States fit that bill.

               Even assuming the existence of comparable burdens and comparable

        justifications, the regulations cited by the Government are not “representative” of the

        United States. The gunpowder regulations consist of laws from two colonies, three

        states (one of which was one of the previous colonies), and a single city; the barrel

        proofing statutes come from only two states (again including one of the same with

        commercial gunpowder regulations). Whether considered separately or collectively,

        these “outlier” statutes do not demonstrate a robust historical tradition of anything –

        much less any comparable historical tradition of firearm regulation infringing on

        protected Second Amendment conduct. Bruen, 142 S. Ct. at 2156. The Bruen Court said

        it “doubt[ed] that three colonial regulations could suffice to show a [historical] tradition.”

        Id. at 2143. By that measure, the Government’s statutes come up well short. In 1791,

        this country consisted of thirteen states. By 1821 it had increased to twenty-three. Three

        out of thirteen states regulating gunpowder, and two out of twenty-three requiring

        barrel proof stamps, simply do not – under any metric – establish a “well-represented
                                                      28
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        and representative” historical tradition of firearm regulation placing Section 922(k)

        outside the Second Amendment’s “unqualified command”. See Spencer v. Nigrelli, 2022

        WL 17985966, at *12 (W.D.N.Y. 2022) (holding “a handful of . . . enactments involving

        a small minority of jurisdictions governing a small minority of population” are

        insufficient to establish a tradition under Bruen).

               As was the case with Heller – Bruen’s analysis of Section 922(k) should be “fairly

        straightforward”. Bruen, 142 S. Ct. at 2131. With the district court it was. The district

        court’s application of Bruen’s historical analysis, and finding that Section 922(k) is

        unconstitutional were correct. Both should be affirmed.

               III.   The district court did not err finding Section 922(k) facially
                      unconstitutional. Section 922(k) is not constitutional as
                      applied to Price simply because he is a convicted felon and
                      thereby prohibited from firearm possession through
                      application of another statute.

                      A.     Standard of Review

               This Court’s review of the district court’s finding Section 922(k) facially

        unconstitutional is de novo. See United States v. Rahimi, ___ F.4th ___, 2023 WL 1459240,

        * 3 (5th Cir. 2023); United States v. Moore, 666 F.3d 313, 316 (4th Cir. 2012); United States

        v. Bostic, 168 F.3d 718, 721 (4th Cir. 1999)

                      B.     Section 922(k) is facially unconstitutional.

               The district court did not err concluding Section 922(k) is facially

        unconstitutional. As a parting shot, the Government argues the district court

        improperly applied the facial standard from United States v. Salerno, 481 U.S. 739 (1987),
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        because Section 922(k) would not violate the Second Amendment where Price is also a

        convicted felon. On this basis, the Government maintains that Section 922(k) would

        not be unconstitutional in all its applications.

               A facial challenge requires showing “that the law is unconstitutional in all of its

        applications.” Salerno, 481 U.S. at 745. 16 The key word is “applications”. Courts only

        consider “applications of the [challenged] statute in which it actually authorizes or

        prohibits conduct,” not circumstances for which the statute is irrelevant. City of Los

        Angeles, Calif. v. Patel, 576 U.S. 409, 415-19 (2015).

               The Government’s argument does not raise actual applications of Section 922(k).

        Rather, it maintains that the application of Section 922(g)(1) to Price would not be

        protected by the Second Amendment, and through it Section 922(k) would still be

        constitutional. The situation described does not involve application of Section 922(k)

        at all, but only Section 922(g)(1). In the Government’s telling, Price can be disarmed

        because of a status covered by a statute other than Section 922(k). That fact has no

        relevance to whether Section 922(k) is constitutional.

               The Supreme Court rejected a similar argument in Patel. That case involved a

        facial Fourth Amendment challenge to a municipal code provision that authorized

        warrantless searches of certain hotel records. Patel, 576 U.S. at 412-13. The city


        16  Courts have not strictly adhered to the Salerno standard. For example, in the
        unconstitutional vagueness context, the Supreme Court has recognized that a statute
        need not be vague in every application to be facially struck down. See Johnson v. United
        States, 576 U.S. 591, 602 (2015).
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        responded that a facial challenge “must fail because such searches will never be

        unconstitutional in all applications.” Id. at 417. It argued that searches covered by the

        statute would be constitutional in certain circumstances, such as emergency situations,

        where consent was given, or where the police had a warrant. Id at 417-18.

               The Supreme Court explained that the city misunderstood “how courts analyze

        facial challenges.” Patel, 576 U.S. at 418. The purportedly constitutional applications

        the city identified were “irrelevant” to [the Court’s] analysis because they did not involve

        actual applications of the statute.” Id. at 419. For those examples, the searches could

        occur without the challenged statute. Ibid. “Statutes authorizing warrantless searches

        … do not work where the subject of the search has consented.” Ibid.

               Here the Government argues that circumstances beyond the application of the

        statute would be constitutional, and thus bar a facial challenge. If a person is a convicted

        felon, the conduct of possessing a firearm could be charged under another statute. In

        that situation, Section 922(k) does “no work” to prohibit the conduct, so it is not an

        application of section 922(k). See Patel, 576 U.S. at 419. As in Patel, Price’s status as a

        convicted felony would not permit prosecution under Section 922(k), but would render

        it irrelevant. See Id. at 418.

               Bruen itself could not have been decided under the Government’s facial standard.

        There too, a litigant could have argued that the New York licensing regime would not

        have violated the Second Amendment if the applicant wanted the license to obtain a

        “dangerous or unusual weapon” or wanted a firearm to help somebody escape from
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        prison. But these were not applications of the New York statute, so they were not

        relevant to a facial challenge to that statute. The Court found the statute facially

        unconstitutional. See Bruen, 142 S. Ct. 2111.

               The Government’s attempt to say Section 922(k) would still be constitutional

        because Price was a convicted felon is without merit. See U.S. Brief, at 31-33. Section

        922(k) deals with possession of a firearm not having certain non-functional

        characteristics; Section 922(g)(1) categorically deals with who may possess a given

        firearm, irrespective of the gun having or not having certain non-functional

        characteristics. In the Second Amendment calculus, the two prohibitions are

        independent, completely different, and are not interchangeable. Even assuming Section

        922(g)(1) is constitutional, that fact does not make the firearm characteristic prohibition

        constitutional at well because it is not an application of Section 922(k). So the

        Government’s assertion that Section 922(k) would be constitutional in some other

        applications under Bruen is incorrect.

              The Fifth Circuit’s recent opinion in United States v. Rahimi, ___ F.4th ___, 2023

        WL 1459240 (5th Cir. 2023), demonstrates the Government’s error. As Rahimi explains,

        “if a statute is inconsistent with the Second Amendment's text and historical

        understanding, then it falls under any circumstances.” Id. at *4 (emphasis added). In other

        words, a statute either is consistent with America’s tradition of firearm regulation, or

        it’s not. If not, that’s it. There is no supplemental examination of differences in

        application. Bruen does not allow for further consideration of anything else.
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                                           CONCLUSION.

              Price’s possession of a handgun, the quintessential weapon of self-defense in

        modern America, falls squarely within the scope of the Second Amendment as

        explained in Heller and Bruen. Section 922(k), which criminalizes Price’s mere possession

        of that firearm because it has an altered serial number, infringes upon that conduct that

        is protected by the Second Amendment. Such a regulation is not consistent with this

        Nation’s history of firearm regulation at the time of the Founding. The alleged historical

        analogues cited by the Government are not sufficiently similar to Section 922(k) to

        justify its constitutionality. Therefore, for the reasons stated more fully above, the

        district court’s finding that Section 922(k) is facially unconstitutional should be

        affirmed.

                                   REQUEST FOR ORAL ARGUMENT

              Pursuant to Rule 34(a) of the Federal Rules of Appellate Procedure, Price hereby

        requests oral argument. To counsel’s knowledge, this Court has not yet addressed the

        impact of Bruen on Second Amendment caselaw, nor has it reviewed the validity of

        Section 922(k) in the wake of Bruen. Oral argument will greatly assist the Court in

        reaching its conclusion.




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                                                      Respectfully submitted,

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        1.    This brief complies with type-volume limits because, excluding the parts of the
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                            CERTIFICATE OF FILING AND SERVICE

                 I hereby certify that on this 6th day of February, 2023, I caused this Brief of

        Appellee to be filed electronically with the Clerk of the Court using the CM/ECF

        System, which will send notice of such filing to all counsel as registered CM/ECF

        users.

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